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                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF LOUISIANA

   _________________________________________
                                             )
   IN RE:                                    )                 CASE NO. 17-12870
                                             )
   REILLY-BENTON COMPANY, INC.               )                 CHAPTER 7
                                             )
                     Debtor.                 )
                                             )
   _________________________________________ )

                        EX PARTE MOTION FOR EXPEDITED HEARING

          NOW INTO COURT, through undersigned counsel, comes the Louisiana Insurance

   Guaranty Association (“LIGA”) who files this Ex Parte Motion for Expedited Hearing on the

   Louisiana Insurance Guaranty Association’s Motion to Quash or Alternatively, for Protective

   Order and Incorporated Memorandum in Support [P-229] (the “Motion”) requesting expedited

   hearing on the Motion as set forth herein. In support, LIGA represents:

          1.      This Court has jurisdiction over this Motion, and the relief requested herein under

   28 U.S.C. § 1334. Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409. This

   matter is a “core” proceeding within the meaning of 28 U.S.C. §§ 157(b)(2).

          2.      LIGA was served on August 16, 2022 with a Notice of Records and Oral Deposition

   by the objecting parties represented by the law firm of Roussel & Clement (“Roussel Objectors”),

   seeking responsive documents by September 2, 2022, a mere 17 days after service of the notice,

   and a corporate deposition of LIGA on September 15, 2022.

          3.      For numerous reasons outlined in the Motion, LIGA has requested an extension of

   deadlines to respond to the records deposition and a continuation of the oral deposition, which has

   been refused by the Roussel Objectors despite this court having granted an order to continue the

   trial on this matter until February 2023.
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          4.       LIGA requests an expedited hearing date on its Motion for September 14.

      Expedited hearing is necessary due to the deposition date of September 15.

          5.       There are numerous other matters set for hearing in the captioned case on

      September 14, so undersigned counsel submits that the expedited hearing will not prejudice

      any party.

      WHEREFORE, LIGA prays that this Motion for Expedited Hearing be granted, and that a

   hearing on the Motion be set for September 14, 2022 at 1:00 p.m.

                                              Respectfully Submitted,

                                              STEWART ROBBINS BROWN & ALTAZAN LLC
                                              301 Main Street, Suite 1640
                                              P. O. Box 2348
                                              Baton Rouge, LA 70821-2348
                                              (225) 231-9998 Telephone
                                              (225) 709-9467 Fax

                                       By:    /s/ William S. Robbins
                                              William S. Robbins (La. #24627)
                                              wrobbins@stewartrobbins.com

                                              Counsel for Louisiana Insurance Guaranty
                                              Association
